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IN` ”I`HE UN`I`TE.F) S"I`A"!`.`ES I,`)j[.$§'i`RIC"I` {EOUR”§`
F(f)R. T_I"H?§ S(:)l.l"l`l~`{f:`iRN DIST"I{ICS’I` O`F` i()`WA
C`?`E`N"E`RAI_.. D.IV`IS(_`)`N

ll)ONN/\ J. IV{`ILI,,,FE';_R t (jfivi§ Ai:<ti_c)m N»cz. mm __________________________ _~
Pi;'li\.mi§?i`,
v:=,.

M§ZD AM.ER`I(`:`AN CT(.`)l.l_§§EC,`"I"I(:).NS :

D€ l`f:ndant,

 

C`(')MPI.“,AINT
Piaint.iff Dmma j . Mi}ler, by her summary Ray fuhns~:m, for her ciaims against the
`f`)@i'"cz:dmzt staley
I. IN'I`R_ODUCTION

]. 'I`his is fm action fur damages brought by am individual cc)nsum€::r for Defen.dmzt"`$
violations €)fthe `I"air .`{f)ebt (`k)l§<:c.t§cm Pmci.ices A<:~t, 15 U.S,C. § f692, e’z Seq. (`hereina,fter
"‘I"J'JC]E’A""L Whi<:h pr¢;)ltz:ii')i.tss d€bt cc)§lectorss from engaging in abusivaz, d<:c»:.zpt;ivcn and 'u.nil"air
p.racti<:<:s.

Il. .IUI~’\S_I_I“)§C`,"[`K)N AND VEN[,H§

2. Jurisd`;ction oft`hirs €I.`<)urt ar'lse:~: under 15 U.S.C, § 1{119;2§<:(;1)_1 28 `I`ESC §
Lj`)f§'?`, and sl:\ppl.c'=:nwnlai jurzisr;iiczicm exists for the S£a't§: iaw claims pursuant to 28 U.S.(`.`.. § 3,36'?‘
I)cc.§ammry rcl'ic:'t"is available pur$uant 110 28 U.S¢C. § § 2201 and 2202. `Vc:nuc: in this .Disrrict is
p§<)pcr in ‘€ha'i‘ the Defendam transac:t:s business here and the conduct c<)'mpflzzine.d Of`{)c<:m‘red

§1:=:1‘€:.

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l_ll, _`PAR"_Y}'.ES

3. Plaintlf"l" 15 21 natural persons residing in (_`)liie, Ic)'w'a‘

4, l`,`)z:l`c:r';c].ztht1 l\/Iid Amf:rictm Ct)llc:cti<méz (_h@:‘e:inat`tt:r ""l\/Iitl Am€ri¢-z‘m”) is 31 hu$i:_'x€§;.$
engaged in the ct“>llccti<)'u <')t“dchts in the state ot"lowa With lt:i»' principal place l)fbusin@$$ located
in Bur?lhlg,tcm, lt)wa.

5k £)e'f"endam is 21"`d.:>,bt collec§,or"" 213 detihecl by the FI)CPA., 15 U\S,C. § 1692;1(6).

I'\! . FA(,`,."I`UAL Al`,`.l§.!l:"i.(?l!-R_"l"‘l{)`h}`S

6. The. `Plz=linti§l`ha:§ am alleged medlczzl debt which M.id Amc:'r§can was att@snpting m
collect

'?. F.rc)m `l"`elt)ruztt}-' t)lT 1998 through N(')Vc~:mh€r t)f 2(){)4, Plaintit"l" S@ht l\/.[id Am€'ric:an
amerle chm:l<:‘s tc)tal§n§-; $185 hit response to tzu;trzzg<~:o'u$,, abusive, mail aggressive c<)llec.ticm.
tactic-5 'i`hs;: payments gent by l§’laint§.§t`t<) l\/h"d Americ:m were improperly appl'ie<}. to the aileged
debt hcczwse l\¢l_ic;i Amer'lczm was il§.<:g,tllly duggng li‘l;zintift`intc:rest and legal fc:.es. AS a result._
l\/lid Amcricah has beam attempting to collect am amount that Plain'ti§?fi` does not owe.

8. tim N<.)\/c~:mbc:: }_, 2.004, R.ic.lt Satt}€:r oth/lid Am.erican called Plztlht'it`t`mnd told her he
wanted to take her out to dim_tt-:r and that he would like hot candle Waix poured cm his body
When Pluihtit`.t` told Saz§tlt:z: ashe had 21 hoyt?riehcl_. Sattier asked Plziihtifl" if her hoyt`z"imzd levied h<::r;
he also Stated that if her ho}’i"z~ierzd lt;)‘v<::d her, sake should get hint to pay the bill that harv

9. ()n l\/Ia::ch 13, 2006, Plaint'if`f gent M'id .Am€:ri.cam 21 cease c.ot:.tmtml.catitm lettt~:'r.

l(), In ()ct:)htzr czt`Q{`J(`}{S, Mi.'.`i Amer.§c:;m catll@d P,lztintift`a.t her home in fm attempt to

collect the alleged debt

l‘\)

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l l _ ha l`enttai'y of`Ztl(l"/', a eo~woi‘l<et ot`l-’laintii`l""$ haittle{l her his Cell phone The co~
Woi:'l<et"’a i.>v'i't`e wt;)tlted at Mi<;i-Attierioan and ahe Was on the line '.l"he ’;\/liel 1{-‘\i;<tetloan employee
threatened to have Pleiiitif`f arrested and/or jailed unless She peid the alleged debt

V. I""`I.RST C.LA`ll\/l FOR REI;IEI"

12. Al.l. 'l`:iete and allegations of this C.oit)_plaint are i.aeotpotat:e<:l herein by reference

l3. De‘l'e,nclaot violated the lll.`)(f?l:’A\. Defeo<:lant`a v'.lolations include hot are not
limited to, the following

a. l\#li.d _Jltn'zerioaii violated §§ ll.S.Cl, § l.o‘jl£e(bl by eomrmi_ni_eating itt
connection With the collection ol.`the alleged debt with an unauthorized third
partyj,

h. Mid j\mei‘iean. violated l 5 U.§_~l.(`,`.. § 1692e{t:j by eom.aetie§; l’lainti'§l"ailei:' she
had riot.§liet"l Delendan't to cease further eoitmwni.catione;

e. l\/.licl Atite.ri.ean violated 15 U.S.C. § 1692e(2) by misrepresenting the
chai'aete.t, amount, or legal etatus ot` the alleged debt;

tl. l\/Iid Amei‘;ican violated 15 U.S.C. § 1682<:(4) by i‘ep§.'e§;enting that
nonpayment of the alleged debt Will teettlt in the arrest or itiit;.irieonme::tt ot"
any persoo.;

e. l\/lic;l A.meriean violated 15 Ll.S.CI. § l.t$@£tl' l:) lay t:o.lleeting an amount not
expressly authorized by the agreement creating the debt or permitted by l_aw.

lfi. AS a z'e:»;'alt ol` the above violations of the l;=".lf)CPA, the Del`endaht is liable to
the l?‘lai;ntifl` for Stettttoi'y tiamag§ee, actual damages, including damages for emotional distrese,

coats and attorney/35 feca

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W¥"[¥§REFORE, Plaixztiffs respectfully request&: that judgment be entered against the
l§e.l`em`lent lot the l`<,)llov."ing;

A. Aetual demeges;

B. Stetutory damages pursuant to 15 l,l`.S,C. § l(il~)’lk.

C. éloste end reesoneble at‘t'ot“ttey’::~; fees pursuant to l5 U.S.{`l. § l 6':921<k

l). l~"~`o'r smell ot`bei~ relief tie the Com't deesz appropriate in the eiteu.ms;tz-mee$.

Re:;peot_l."ully eubm_itted,

lig-gee llllllll W

ItA\_l”fioie“NSoN

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Soite 335

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